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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MARCUS ROBERTS,                        CASE NO.:

                  Plaintiff,


vs.


A-NATIONAL LIMOUSINE
SERVICE, INC., A GEORGIA
CORPORATION,

             Defendant.
____________________________/



              COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, MARCUS ROBERTS, by and through the undersigned

attorney, sues the Defendant, A-NATIONAL LIMOUSINE SERVICE,

INC., a Georgia Corporation, and alleges:

      1.      Plaintiff was an employee of Defendant and brings this

action for unpaid overtime compensation, liquidated damages, and all

other applicable relief pursuant to the Fair Labor Standards Act, as

amended, 29 U.S.C. § 216(b) (“FLSA”).
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                          GENERAL ALLEGATIONS

      2.      Plaintiff worked for Defendant from approximately August

2017 to July 2020.

      3.      Plaintiff worked for Defendant as a dispatcher assisting in

the dispatching of vehicles to customers.

      4.      At all times, Plaintiff was paid by the hour by Defendant.

      5.      Defendant, A-NATIONAL LIMOUSINE SERVICE, INC, is

the   “preferred      Atlanta     limousine    service   since   1982.”    See

http://www.anationallimo.com/.

      6.      Defendant’s headquarters and principal place of business is

in Atlanta, Georgia, and within the jurisdiction of this Court.

      7.      This action is brought under the FLSA to recover from

Defendant unpaid overtime compensation, liquidated damages, and

reasonable attorneys’ fees and costs.

      8.      This Court has jurisdiction over Plaintiff’s claims pursuant

to 28 U.S.C. §1331 and the FLSA.

      9.      During Plaintiff’s employment with Defendant, Defendant

earned more than $500,000.00 per year in gross sales.


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     10.      During Plaintiff’s employment with Defendant, Defendant

employed two or more employees which handled goods, materials and

supplies which had travelled in interstate commerce, including

computers, vehicles, office equipment, telephones and other items.

     11.      Defendant was an enterprise under the FLSA.

                            FLSA VIOLATIONS

     12.      At all times relevant to this action, Defendant has failed to

comply with the FLSA by failing to pay Plaintiff complete overtime

compensation.

     13.      During his employment with Defendant, Plaintiff was paid

his regular hourly rate for all overtime hours worked.

     14.      On Plaintiff’s paystubs, Defendant would pay Plaintiff

“straight time” for his overtime under either the “Charter” or “Bonus”

line items.

     15.      Defendant failed to pay Plaintiff time and one-half of his

hourly rate for overtime hours worked.




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     16.   Upon information and belief, the records, to the extent any

exist and are accurate, concerning the number of hours worked and

amounts paid to Plaintiff is in the possession and custody of Defendant.

           COUNT I – RECOVERY OF OVERTIME WAGES



     17.   Plaintiff   reincorporates   and   readopts    all   allegations

contained in paragraphs (1) through (16) above.

     18.   Plaintiff was entitled to be paid overtime compensation for

overtime hours worked.

     19.   During his employment with Defendant, Plaintiff worked

overtime hours but was only paid his regular hourly rate instead of time

and one-half his hourly rate for those overtime hours worked.

     20.   Defendant did not have a good faith basis for its decision to

not pay Plaintiff complete and proper overtime compensation for

overtime hours worked.

     21.   Because of Defendant’s intentional, willful, and unlawful

acts in refusing to pay Plaintiff proper compensation, Plaintiff has

suffered damages plus incurring reasonable attorneys’ fees and costs.


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     22.   Because of Defendant’s willful violation of the FLSA,

Plaintiff is entitled to liquidated damages.

     23.   Plaintiff demands a trial by jury.

     WHEREFORE,          Plaintiff,   MARCUS      ROBERTS,       demands

judgment against Defendant for unpaid overtime wages, liquidated

damages, reasonable attorneys’ fees and costs incurred in this action,

and any and all further relief that this Court determines to be just and

appropriate.

     Dated this 11th day of March, 2021.

                             /s/ C. RYAN MORGAN__________
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